                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:05-CR-32
                                                       )       (PHILLIPS/GUYTON)
 JEREMY ROBBINS,                                       )
 DIANE SHANDS ROBBINS, and                             )
 VAIRAME TEDESCO,                                      )
                                                       )
                Defendants.                            )



                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.

                The defendants Jeremy Robbins and Diane Robbins move the Court for an Order

 continuing the Briefing Schedule in this case from the current date of April 28, 2006 to May 5, 2006.

 [Doc. 264]. The defendants further move that the United States be given until June 6, 2006 to file

 its responsive brief. The defendants state in their motion that the United States does not oppose the

 defendants’ request.

                For good cause shown, the defendants’ Joint Motion to Continue Post Hearing Brief

 Deadlines [Doc. 264] is GRANTED. The defendants shall have until May 5, 2006 to file a post-




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 hearing brief in this matter. The United States shall have until June 6, 2006 to file a responsive

 brief.

                IT IS SO ORDERED.

                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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